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                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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     RICHARD DALTON, MATTHEW                           CASE NO. 2:19-CV-04821-MWF (KSX)
10   FERNANDES, ANDRE JOSEPH,
     ALEXANDER ALONSO, AND
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     RANDOLPH JONES, individually and                  ORDER GRANTING PLAINTIFFS’
12   on behalf of all others similarly situated,       MOTION TO REOPEN CASE [79]
                                                       [82]
13
                         Plaintiffs,
14   v.
15
     ANOVOS PRODUCTIONS, LLC
16   DISNEY LUCASFILM LTD.,
     NBCUNIVERSAL MEDIA, LLC, AND
17
     CBS STUDIOS, INC.,
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                         Defendants.
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21        Having reviewed Plaintiffs’ Motion to Reopen Case filed on April 1, 2021,
22   (Docket Nos. 79, 82), and finding good cause, the Motion is GRANTED. The Clerk
23   is ORDERED to re-open the above-captioned case. Plaintiffs shall file their motion
24   to enforce the settlement agreement on or before May 31, 2021.
25         IT IS SO ORDERED.
26
     Dated: April 26, 2021               _______________________________
27
                                         MICHAEL W. FITZGERALD
28                                       UNITED STATES DISTRICT JUDGE

     ORDER REOPENING CASE                          1
